                   UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        SOUTHERN DIVISION


DAVID ANDREW KIRTON, JR.,                 )
                                          )   Civil No. 7:20-cv-_ _ __
                          Movant,         )   Crim No. 7:17-cr-00129-FL-l
                                          )
vs.                                       )   MEMORANDUM OF LAW IN
                                          )   SUPPORT OF MOTION UNDER
UNITED STATES OF AMERICA,                 )   28 U.S.C. § 2255 TO VACATE,
                                          )   SET ASIDE, OR CORRECT
                          Respondent.     )   SENTENCE BY A PERSON IN
                                          )   FEDERAL CUSTODY


       COMES Movant, DAVID ANDREW KIRTON, JR. ("Kirton"), appearingpro

 se, and in support of this motion would show as follows:

                                I. JURISDICTION

       Kirton is timely filing a Motion to Vacate, Set Aside, or Correct a Sentence by

 a Person in Federal Custody Pursuant to 28 U.S.C. §. 2255 ("§ 2255 Motion")

 contemporaneously with this Memorandum of Law. Jurisdiction is vested in this

· District Court that presided over and imposed sentence pursuant to Rule 4(a) of the

 Rules Governing§ 2255 Proceedings. SeeLitekyv. United States, 510 U.S. 540, 562

 (1994).




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             II. STATEMENT OF THE GROUND FOR RELIEF

      A.     Whether pretrial counsel's failure to: ( 1) Communicate with Kirton and

correctly inform him of the relevant circumstances and likely consequences of

pleading guilty as opposed to proceeding to trial; (2) File any substantive pretrial

motions; (3) Conduct an adequate and independent pretrial investigation; and (4)

Attempt to negotiate a more favorable Plea Agreement deprived him of effective

assistance of pretrial and plea context counsel under the Sixth Amendment of the

Constitution of the United States.

      B.     Whether sentencing counsel's failure to: (1) Properly argue objections

to the PSR; and (2) Argue for mitigation of punishment and object to Kirton's

sentence being substantively unreasonable deprived him of effective assistance of

sentencing counsel under the Sixth Amendment, a fair and just sentence, and a fair

and meaningful appellate review.

                        III. STATEMENT OF THE CASE

      A.     Procedural Background

      On September 26, 201 7, a grand jury sitting in the United States District Court

for the Eastern District of North Carolina, Southern Division, returned a thirteen ( 13)

count Indictment charging Kirton and John Mickey Harris, Jr. ("Harris"), a co-




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defendant. See Doc. 1. 1 Count 1 charged Kirton with Conspiracy to Distribute and

Possess with Intent to Distribute Heroin, in violation of21 U.S.C. § 846. Id. Counts

2, 5 and 7 charged Kirton with Aiding and Abetting the Distribution and Possession

with Intent to Distribute Heroin, in violation of21 U.S.C. § 841(a)(l) and 18 U.S.C.

§ 2. Id. Counts 3, 4, 6, 8, 9 and 10 charged Kirton with Distribution and Possession

with Intent to Distribute Heroin, in violation of 21 U.S.C. § 841(a)(l). Id. The

Indictment also contained an Allegation of Prior Convictions pursuant to 21 U.S.C.

§§ 841(b)and 851, and a Forfeiture Notice pursuant to 21 U.S.C. § 853. Id.

       On May 1, 2018, a Change of Plea Hearing was held and Kirton entered a plea

of guilty as to Count 8 of the Indictment, pursuant a written Plea Agreement. See

Docs. 62, 63.

       On October 10, 2018, Kirton was sentenced to a term of 100 months'

imprisonment, 3 years Supervised Release, no Fine or Restitution, and a Mandatory

Special Assessment Fee of$100. See Docs. 85, 87.

       On October 12, 2018, Kirton timely filed a Notice of Appeal. See Doc. 84.

       On April 30, 2019, the United States Court of Appeals for the Fourth Circuit

("Fourth Circuit") issued ai1 Order dismissing Kirton's appeal. See Doc. 104.


       "Doc." refers to the Docket Report in the United States District Court for the Eastern District
of South Carolina, Southern Division in Criminal No. 7:17-cr-00129-FL-1, which is immediately
followed by the Docket Entry Number.

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       B.    Statement of the Relevant Facts

             1.     Offense Conduct

       On or about January 26, 201 7, in the Eastern District ofNorth Carolina, David

Andrew Kirton, Jr., also known - as "Lil One," did knowingly and intentionally

distribute and possess with the intent to distribute a quantity of heroin, a Schedule I

controlled substance, in violation of Title 21, United States Code, Section 841 (a) ( 1).

             2.     Plea Proceeding

       On May 1, 2018, a Change of Plea Hearing was held before District Judge

Terrence W. Boyle. See Doc. 62. Kirton entered a guilty plea on Count 8 of the

Indictment, pursuant to a written Plea Agreement. See Doc. 63. In exchange for

Kirton's guilty plea, the government agreed to dismiss Counts 1-5, 9 and 10 of the

Indictment. The case was referred to the Probation Office for the preparation of the

PSR.

             3.     Sentencing Proceeding

       On October 10, 2018, a Sentencing Hearing was held before District Judge

Terrence W. Boyle. See Doc. 85. The Court sentenced Kirton to term of 100 months'

imprisonment, 3 years Supervised Release, and ordered to pay a Mandatory Special

Assessment Fee of $100. See Doc. 87. A timely Notice of Appeal was filed on

October 12, 2018.

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             4.    Appellate Proceeding

       Kirton sought to appeal the 100-month sentence imposed upon his conviction

·for distribution and possession with intent to distribute heroin, in violation of 21

U.S.C. § 841(a)(l) (2012). The Government has moved to dismiss the appeal as

barred by Kirton' s waiver of appellate rights included in the plea agreement. Upon

review of the Plea Agreement al)d the transcript of the Fed. R. Crim. P. 11 hearing,

the Fourth Circuit concluqed that Kirton knowingly and voluntarily waived his right

to appeal, that Kirton' s sentencing claims fall squarely within the compass of his

waiver of appellate rights, and that Kirton's ineffective assistance of counsel claims

are not cognizable on direct appeal. Accordingly,     t~e   Fourth Circuit granted the

government's motion to dismiss. See Docs. 104, 105.

             IV. COGNIZABLE ISSUES UNDER 28 U.S.C. § 2255

       The function of a§ 2255 Motion to Vacate, Set Aside or Correct Sentence is

to inquire into the legality of the federal prisoner's detention. See Heflin v. United

States, 358 U. S. 415, 421 (1959). Section 2255 provides four grounds that justify

relief for a federal prisoner who challenges the imposition or length of his or his

detention: ( 1) "that the sentence was imposed in violation of the Constitution or laws

of the United States"; (2) "that the court was without jurisdiction to impose such

sentence"; (3) "that the sentence was in excess of the maximum authorized by law";

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or (4) "that the sentence is otherwise 'subject to collateral attack."' 28 U.S. C. § 2255

(1994). Despite this apparently broad language, violations of federal law are only

cognizable if they involve a "fundamental defect" resulting in a "complete

miscarriage of Justice." Davis v. United States, 417 U. S. 333, 346 (1974).

      Section 225 5 permits a federal prisoner to bring a collateral challenge by

moving the sentencing court to vacate, set aside, or correct the sentence. 28 U.S.C.

§ 2255(a). Once a petitioner files a§ 2255 motion, "[u]nless the motion and the files

and records of the case conclusively show that the prisoner is entitled to no relief, the

court shall . . . grant a prompt hearing thereon, determine the issues and make

findings of fact and conclusions of law with respect thereto." 28 U.S.C. § 2255(b).

A petitioner is entitled to an evidentiary hearing if he "alleges facts that, if true,

would entitle him to relief." McQuiggin v. Perkins, 133 S. Ct. 1924, 185 L. Ed. 2d

1019, 81 USLW 4327 (2013). "[A] petitioner need only allege - not prove -

reasonably specific, non-col)clusory facts that, if true, would entitle him to

relief."Owens v. Bait. City State's Attorneys Office, 767 F.3d 379 (4th Cir. 2014).

However, a district court need not hold a hearing if the allegations are "patently

frivolous," "based upon unsupported generalizations," or "affirmatively contradicted

by the record." Holmes, 876 F.2d at 1553.




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      A § 225 5 Motion requires the district court to either order the government to

respond or to hold an evidentiary hearing unless the Motion, files and record of the

case demonstrate that no relief is warranted. See Aron, 291 F.3d at 715 n.6. "Under

28 U.S.C. § 225 5, unless the motion and record as constituted show conclusively that

relief is not available, an evidentiary hearing should be held." 28 U.S.C. § 2255(b).

      Upon granting a§ 2255 Motion, "[t]he court shall vacate and set the judgment

aside and shall discharge the prisoner or resentence him ... or correct the sentence

as may appear appropriate." 28 U. S. C. § 2255. The remedy provided in § 2255 is

broad and flexible, and entrusts the federal courts with the power to fashion

appropriate relief. See Andrews v. United States, 373 U.S. 334, 339 (1963).

      Ineffective assistance of counsel claims are cognizable in a § 2255 setting

because they are of constitutional dimension. See Kimmelman v. Morrison, 477 U.S.

365, 371-79 and n.3 (1986); Strickland v. Washington, 466 U. S. 668 (1984).

      To prevail on a claim ofineffective assistance of counsel, defendant must show

that (1) his counsel's representation fell below an objective standard of

reasonableness, and (2) there is a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been different. See

Kimme/man, 477 U.S. at 375.




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      The "reasonableness of counsel's challenged conduct" must be judged "on the

facts of the particular case, viewed as of the time of counsel's conduct." Lockhart v.

Fretwell, 506 U.S. 364, 371(1993)(citing Strickland, 466 U.S. at 690). In the course

of the latter portion of this inquiry, the Court must consider not merely whether the

outcome of the defendant's case would have been different, but also whether

counsel's deficient performance caused the outcome to be unreliable or the

proceeding to be fundamentally unfair. See Lockhart, 506 U. S. at 368-73.

"Unreliability or unfairness does not result if the ineffectiveness of counsel does not

deprive the defendant of any substantive or procedural right to which the law entitles

him." Lockhart, 506 U.S. at 372. Thus, prejudice is measured by current law and not

by the law as it existed at the time of the alleged error. Id.

      The familiar two-part test ofStrickland has been applied by the Supreme Court

and the Second Circuit in a wide variety of contextual challenges to the effectiveness

of counsel's performance. With regard to the performance prong of the

Strickland/Hill test, "if a defendant is represented by counsel and pleas guilty upon

advice of counsel, the voluntariness of the plea depends on whether counsel's advice

was within the range of competence demanded of attorneys in criminal cases."

McMann v. Richardson, 397 U. S. 759 (1970). "[T]o prove prejudice, [defendant]

must show that there is a reasonable probability that, but for counsel's unprofessional

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errors, the result of the proceeding would have been different." Id. at 841-42. "And,

of course, 'any amount of actual jail time has Sixth Amendment significance,' which

constitutes prejudice for purposes ofthe Strickland test." Glover v. United States, 531

U.S. 198, 203 (2001). Additionally, "[o]ne of the most precious applications of the

Sixth Amendment may well be in affording counsel to advise a defendaqt concerning

whether he should enter a plea of guilty." Padilla v. Kentucky, 130 S. Ct. 1473

(2010). "Before deciding whether to plead guilty, a defendant is entitled to 'the

effective assistance of competent counsel."' See Missouri v. Frye, 132 S. Ct. 1399

(2012); Lafler v. Cooper, 132 S. Ct. 1376 (2012); Premo v. Moore, 131 S. Ct. 733,

743 (2011); Padilla v. Kentucky, 130 S. Ct. 1473, 1480-81 (2010).

      In an effort to provide guidance as to how Hill applies to differing factual

settings, the Supreme Court decided Lafler and Frye and established a constitutional

standard applicable in all of the separate phases of a criminal tdal to which the Sixth

Amendment applies, including the point at which a defendant decides whether to

plead guilty to a crime. In Lafler, the Court held that when counsel's ineffective

advice led to an offer's rejection, and when the prejudice alleged is having to stand

trial, a defendant must show that, but for the ineffective advice, there is a reasonable

probability that the plea offer would have been presented to the court, that the court

would have accepted its terms, and that the conviction or sentence, or both, under the

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offer's terms would have been less severe than under the actual judgment and

sentence imposed. In Frye, the Court held thatthe Sixth Amendment right to effective

assistance of counsel extends to the    con~ideration   of plea offers that lapse or are

rejected, and that right applies to "all 'critical' stages of the criminal proceedings."

      In the context of sentencing, prejudice means that but for counsel's error(s),

acts and/or omissions, his sentence would have been significantly less harsh. See

James v. Harrison, 389 F.3d 450 (4th Cir. 2004).

      Finally, in a ruling on a motion under§ 2255, the District Court is required to

hold a hearing"[u]nless the motion and the files and records of the case conclusively

show that the prisoner is entitled to no relief." 28 U.S.C. § 2255.

                                  V. DISCUSSION

      As a preliminary matter, Kirton respectfully requests that this Court be mindful

that prose complaints are to be held "to less stringent standards than formal pleadings

drafted by lawyers," and should therefore be liberally construed. See Clark v.

Cartledge, 829 F.3d 303 (4th Cir. 2016); Estelle v. Gamble, 429 U.S. 97 (1976)

(same); and Haines v. Kerner, 404 U.S. 519 (1972) (same).

      A.     Pretrial Counsel's Failure To: (1) Communicate with Kirton
             and Correctly Inform Him of the Relevant Circumstances and
             Likely Consequences of Pleading Guilty As Opposed to
             Proceeding to Trial; (2) File Any Substantive Pretrial
             Motions; (3) Conduct An Adequate and Independent Pretrial

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            Investigation; and (4) Attempt to Negotiate A More Favorable
            Plea Agreement Deprived Him of Effective Assistance of
            Pretrial and Plea Context Counsel Under the Sixth
            Amendment of the Constitution of the United States.

             1.    Failure to Communicate with Kirton and Correctly Inform
                   Him of the Relevant Circumstances and Likely
                   Consequences of Pleading Guilty As Opposed to
                   Proceeding to Trial

      Chapter 1, Rule 1.4: Communication of the North Carolina Rules of

Professional Conduct states that:

            (a)    A lawyer shall:

                         (1)    promptly inform the client of any decision or
                                circumstance with respect to which the client's
                                informed consent, as defined in RPC 1.0(e), is
                                required by these Rules;
                         (2)    reasonably consult with the client about the means
                                by which the client's objectives are to be
                                accomplished;

                         (3)    keep the client reasonably informed about the status
                                of the matter;

                         (4)   ·promptly comply with reasonable requests for
                                information; and

                         (5)    consult with the client about any relevant limitation
                                on the lawyer's conduct when the lawyer knows that
                                the client expects assistance not permitted by the
                                Rules of Professional Conduct or other law.

            (b)    A lawyer shall explain a matter to the extent reasonably necessary
                   to permit the client to make informed decisions regarding the
                   representation.
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      Reasonable communication between the lawyer and the client is necessary for

the client effectively to participate in the representation. It is one of the cornerstones

of effective legal repr~sentation by an attorney.

      In this case, there was not any reasonable communication from the beginning

ofhis case between Kirton and his attorney, Daniel Donahue ("Donahue"), so that he

could effectively participate in his defense. Counsel certainly ·did not meet the

standard as set forth above in Rule 1.4 of the North Carolina Rules of Professional

Conduct or any other professional norm for that matter. Donahue failed to reasonably

consult with Kirton about the means to be used to accomplish his objectives other

than to push him into pleading guilty. Donahue failed to provide sufficient

information to Kirton so thathe could participate intelligently in decisions concerning

the objectives of his representation and the means by which they would be pursued.

Adequacy of communication depends in part on the kind of advice or assistance that

is involved. Donahue did not draft any strategy for defense, instead he straight out

advised Kirton to plead guilty. Donahue coaxed Kirton to pleading guilty by saying

that if he proceeds to trial, his co-defendant Harris would testify against him, and

though he failed the polygraph test). Further, Donahue wheedled Kirton that should

he opt to go to trial, the government would file an enhancement pursuant to 21

U.S.C. § 851, whichwouldresultina30-yearsentence. Therefore, accepting the plea

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offer would be his best option, assuring Kirton that his plea proffer will not be used

against him as contained in the Plea Agreement. Because Kirton wholly relied on

Donahue's advice, Kirton acquiesced to same. The guiding prindple is that a lawyer

should fulfill reasonable client expectations for information consistent with the duty

to act in the client's best interest. Donahue failed to do so.

      In Hill, the Court considered a Strickland claim based on allegations that the

petitioner's lawyer had given deficient advice that caused him to plead guilty instead

of proceeding to trial. While there have been many cases analogous to it, it has been

understood that Hill established a rule applicable to other circumstances when

lawyers advise their clients at the plea-bargaining stage of the case. Cf. Lafler, supra~ ·

Frye, supra; Padilla, 130 S. Ct. at 1485 n.12.

      Fact: Donahue persuaded Kirton to plead guilty, advising that in exchange for

his guilty plea and proffer statements, the government will not use information based

on his "protected statements" to calculate his sentence guideline; and to dismiss

multiple counts.

      Note: Donahue advised Kirton that under the provision in the Plea Agreement

that the government will not use his "protected statements" against him to calculate

drug weight for sentencing, and therefore the Court may not consider anything· he

volunteered to law enforcement under the agreement, under the logic that by giving

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the statements himself he shields them from use at all.

      Donahue misunderstood the Plea Agreement exception to this provision. In his

Plea Agreement signed on April 30, 2018, the provision in question states:

      (4)    f.     Pursuant to USSG lB 1.8, that self-incriminating
                    information provided by the Defendant pursuant to this
                    Agreement shall not be used against the Defendant in
                    determining the applicable advisory Guideline range,
                    except as provided by. lB 1.8 and except as stated in this
                    Agreement. The United States may provide to the United
                    States Probation Office any evidence concerning relevant
                    conduct. (Emphasis added.)

USSG § lBl.8. Use of Certain Information, states:

      (a)    Where a defendant agrees to cooperate with the government by
             providing information concerning unlawful activities of others,
             and as part of that cooperation agreement the government agrees
             that self-incriminating information provided pursuant to the
             agreement will not be used against the defendant, then such
             information shall not be used in determining the applicable
             guideline range, except to the extent provided in the agreement.

      (b)    The provisions of subsection (a) shall not be applied to restrict the
             use of information:

             ( 1)   known to the government pnor to entering into the
                    cooperation agreement;

             (2)    concerning the existence ofprior convictions and sentences
                    in determining§ 4Al .1 (Criminal History Category) and§
                    4B 1.1 (Career Offender);

             (3)    in a prosecution for perjury or giving a false statement;



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             (4)   in the event there is a breach of the cooperation agreement
                   by the defendant; or

             (5)   in determining whether, or to what extent, a downward
                   departure from the guidelines is warranted pursuant to a
                   government motion under§ 5Kl .1 (Substantial Assistance
                   to Authorities).

      The Commentary makes clear it is the self-incriminating information, while

cooperating against others', after entering into a cooperation agreement, and wholly

unknown to the government prior to his disclosure that is barred from use- an

information Kirton was not made aware of prior to accepting the plea offer.

      In this case, it is apparent from the advice and information given to Kirton that

Donahue expressly failed to correctly familiarize with the relevant facts of the case,

case law, applicable Guidelines and potential consequences of a conviction in his

case. In conclusion, Kirton relied upon Donahue's faulty belief that his protected

statements shield from the Court's review any drug weight supplied by the

investigation prior to his protected statements for use at sentencing, a concept

specifically addressed in exception in the plea agreement under § lB l.8(b)(1 ).

      Donahue failed to properly inform him of all these matters, which led to his

100-month sentence. Had he done so, Kirton would have been properly advised ofhis

actual correct options available. As such, there is a reasonable probability that he

would have opted to proceed to trial had he been properly informed by counsel of the

sentencing exposure he faced.

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       Kirton has shown that there is a reasonable probability that, but for his

attorney's unprofessional advice in failing to properly and correctly inform him ofthe

· relevant circumstances and likely consequences of pleading guilty as opposed to

pleading guilty to the firearm offense, there is a reasonable probability that this Court

would have imposed the same sentence and he would have retained his right to a jury

trial and appeal rights. It is hard to imagine that Kirton's attorney didn't know this

 and encouraged him to plead guilty straight up to the Indictment.

              2-3.   Failure to File Any Substantive Pretrial Motions and
                     Conduct An Adequate and Independent Pretrial
                     Investigation.

       In this case, Donahue failed to file substantive pretrial motions on behalf of

Kirton to determine the strength of the government's case-in-chief. Donahue could

have filed motions such as Motion for Discovery; Request for Rule 404(b) of the

 Federal Rules of Evidence [Material]; Motion for Brady/Giglio Material; and for

 Equal Access for Purposes of Interview; and a Motion to Dismiss Indictment.

       The record in this instance speaks for itself. The U.S. District Court Docket

Report reflects that there were no substantive pretrial motions filed by Donahue

 prior to Kirton' s plea hearing. Donahue missed out on a golden opportunity to assess

 and evaluate the strength of the government's case and the evidence that they had

 against Kirton.

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       Such fundamental pretrial motions are essential in the development and

evaluation in assessing the strengths and weaknesses of the government's case and

would have aided the defense in the decisional process of whether to plead guilty or

to proceed to trial. Because of the lack of compliance and assistance from Donahue,

Kirton was unable to obtain the Discovery that he needed to be fully informed so that

he could make an informed decision on whether to plead guilty or proceed to trial.

Without this information, he was unable to make an informed decision. As such, he

relied on Donahue's erroneous advice to his detriment. As such, he decided to plead

guilty because of the fact that he fears going to trial and receiving a longer prison

sentence, and Donahue made him believe that pleading guilty was his best option.

Had he been given the Discovery in order to assess and evaluate the government's

case-in-chief, there is a reasonable probability that he would have opted to proceed

to trial. Donahue's representation was deficient because Kirton was not properly

informed ofthe relevant circumstances and likely consequences of pleading guilty as

opposed to standing trial in order to make an informed decision about which course

to take.

       Defense counsel has the obligation to conduct a "reasonably substantial,

independent investigation." Neal, 239 F.3d at 688; Elmore v. Ozmint, 661 F.3d 783

(4th Cir. 2011). The Supreme Court has explained the governing standard:

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             Strategic choices made after thorough investigation oflaw
             and facts relevant to plausible options are virtually
             unchallengeable; and strategic choices made after less than
             complete investigation are reasonable precisely to the
             extent that reasonable professional judgments support the
             limitations on investigation. In other words, counsel has a
             duty to make reasonable investigations or to make a
             reasonable decision that makes particular investigations
             unnecessary. In any ineffectiveness case, a particular
             decision not to investigate must be directly assessed for
             reasonableness in all the circumstances, applying a heavy
             measure of deference to counsel's judgments.

Strickland, 466 U.S. at 690-91.

      In this case, Donahue failed to conduct any kind of a reasonable independent

pretrial investigation of his case. Donahue failed to research the case law, interview

witnesses or investigate the facts ofKirton's case. There was no independent pretrial

investigation to challenge the government's case-in-chief. Donahue failed to move

the Court for a private investigator to independently investigate Kirton's case. There

was not any kind of independent pretrial investigation conducted whatsoever to

Kirton's knowledge except for reading the government's case file and discussing it

with the government prosecutor. It is well settled in this circuit that a criminal

investigation requires investigators to piece together evidence, often circumstantial

and from multiple sources, to prove a defendant's innocence or guilt. See Elmore v.

Ozmint, 661 F.3d at 804 (4th Cir. 2011) ("counsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular investigations

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unnecessary"( quoting Strickland, 466 U.S. at 690-91 ). Although courts are typically

required to show heightened deference to an attorney's strategic decisions supported

by professional judgment, where a failure to investigate does not reflect sound

professional judgment, such deference is not appropriate. Id.

      Accordingly, Donahue failed to research and properly prepare this case so that

he could inform Kirton of the relevant circumstances and likely consequences of his

case so that he could make an   ,~nformed   decision of whether to plead guilty or to

proceed to trial.

       Correspondingly, Kirton's conviction and sentence should be vacated so that

he can plea anew. To obtain relief on an ineffective assistance of counsel claim,

Kirton must demonstrate that his.attorneys' performance were deficient, and that there

is a reasonable probability that, but for counsels' deficient performance, he would

have proceeded to trial. See Hill v. Lockhart, 474 U.S. 52, 59 (1985); Strickland v.

Washington, 466 U.S. 668, 687 (1984) ("Strickland''); see also, Lafler v. Cooper, 132

S. Ct. 1376 (2012) ("Lafler"); Missouri v. Frye, 132 S. Ct. 1399 (2012) ("Frye");

Padilla v. Kentucky, 130 S. Ct. 1473, 1480-81 (2010) ("Padilla") ("Before deciding

whether to plead guilty, a defendant is entitled to 'the effective assistance of

competent counsel."') (quotingMcMann v. Richardson, 397 U.S. 759, 771 (1970)).




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              4.     Failure to Attempt to Negotiate A More Favorable Plea
                     Agreement

        "[C]riminaljustice today is for the most part a system ofpleas, not a system of

trials ... [T]he right to adequate assistance of counsel cannot be defined or enforced

without taking into account the central role plea bargaining plays in securing

convictions and determining sentences." Lafler v. Cooper, 132 S. Ct. 1376, 1388

(2012). Because of"[t]he reality []that plea bargains have become so central to the

administration of the criminaljustice system ... ," Missouriv. Frye, 132 S. Ct. 1399,

1407 (2012), the Supreme Court has recognized that the Sixth Amendment right to

counsel "extends to the plea-bargaining process. During plea negotiations defendants

are entitled to the effective assistance of competent counsel." Lafler, 132 S. Ct. at

1384 (internal citations and quotation marks omitted); see also, Frye, 132 S. Ct. at

1407.

        "[T]he negotiation of a plea bargain is a critical phase oflitigation for purposes

of the Sixth Amendment right to effective assistance of counsel." Padilla, 130 S. Ct.

at 1486. When a defendant persists in a plea of not guilty, a failure to properly inform

him about potential sentencing exposure may constitute ineffective assistance. Id.

        In an effort to provide guidance as to how Hill applies to differing factual

settings, the Supreme Court decided Lafler and Frye and established a constitutional



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standard applicable in all of the separate phases of a criminal trial to which the Sixth

Amendment applies, including the point at which a defendant decides whether to

plead guilty to a crime. In Lafler, the Court held that when counsel's ineffective

advice led to an offer's rejection, and when the prejudice alleged is having to stand

trial, a defendant must show that, but for the ineffective advice, there is a reasonable

probability that the plea offer would have been presented to the court, that the court

would have accepted its terms, and that the conviction or sentence, or both, under the

offer's terms would have been less severe than under the actual judgment and

sentence imposed. In Frye, the Court held that the Sixth Amendment right to effective

assistance of counsel extends to the consideration of plea offers that lapse or are

,rejected, and that right applies to "all 'critical' stages of the criminal proceedings."

       "It is the lawyer's duty to ascertain ifthe plea is available, that it could possibly

lead to a shorter sentence and entered voluntarily and knowingly. He must actually

and substantially assist his client in deciding whether to plead guilty. It is his job to

provide the accused an "understanding of the law in relation to the facts." Gonzalez

v. Crosby, 545 U.S. 524, 542 (2005). The advice he gives need not be perfect, but it

must be reasonably competent. His advice should permit the accused to make an

informed and conscious choice. Lafler, supra. In other words, if the quality of

counsel's advice falls below a certain minimum level, the client's decision whether

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to plead guilty or proceed to trial cannot be knowing and voluntary because it will not

represent an informed choice. Id. Also, whether a defendant pleads guilty or proceeds

to trial, he must be aware of "the relevant circumstances and likely consequences"

surrounding the plea. Brady v. United States, 397 U.S. 742 (1970).

      In this case, it is apparent from the advice and information given to Kirton that

Donahue expressly failed to correctly familiarize with the relevant facts of the case,

case law, applicable Guidelines and potential consequences of a conviction in his

case. Donahue failed to properly inform Kirton of all these matters, which led to him

100-month sentence. Had Donahue done so, Kirton would have been properly advised

of his actual correct options available. As such, there is a reasonable probability that

he would have proceeded to trial, or he would have opted to plead to the Indictment

without a written Plea Agreement and preserve his appeals right, had he been

properly informed by counsel of the sentencing exposure he faced.

      Kirton pied guilty straight up to the Indictment. In essence, Kirton' s guilty plea

was skewed in favor of the government and did not have any benefit for him. It was

a fast way for his attorney to dispose of the case and move on.

      In this case, it is clear and obvious that Kirton did not have a complete

understanding of the relevant circumstances and the likely consequences of pleading

guilty, as opposed to pleading guilty. As such, Kirton had a true and honest belief

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from this misadvice given to him by his attorney, that ifhe pled guilty that it was the

best opportunity for him in his case. Because Kirton was a layman of the law, he

wholly relied on counsel's advise.

      In the plea bargaining stage of criminal proceedings, the second part of the

Strickland analysis, i.e., the "prejudice" prong, "focuses on whether counsel's

constitutionally ineffective performance affected the outcome of the plea process."

Hill v. Lockhart, 474 U.S. 52, 59 (1985); accord Lafler v. Cooper, 132 S. Ct. 1376,

1384 (2012); Missouri v. Frye, 132 S. Ct. 1399, 1409-10 (2012). Once the defendant

has satisfied the first prong of Strickland by establishingthat counsel's performance

was constitutionally defective, the threshold showing of prejudice required to satisfy

the second prong is comparatively low-in such cases, the prejudice prong is satisfied

if there is a "reasonable probability" that the defendant would have accepted the

Government's plea offer, but-for counsel's ineffective assistance or inadequate

advice. Lafler, 132 S. Ct. at 1385; see also, Merzbacher v. Shearin, 706 F.3d 356 (4th

Cir. 2013) (citing Missouri v. Frye, 132 S. Ct. 1399 (2012)), for the proposition that

it is easier to show prejudice in the guilty plea context than in other contexts because

the claimant need only show a reasonable probability that he would have pleaded

differently). Accordingly, if reasonable minds could conclude that a fully informed

defendant would have accepted the Government's plea offer, then the defendant is

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entitled to relief. Moreover, if counsel failed to provide the defendant with an

estimated range of the penalties that could result from a trial conviction, the prejudice

prong is presumptively satisfied if the difference between the length of the sentence

proposed in the Government's plea offer and the sentence imposed after a trial

conviction was substantial. See Morris, 470 F.3d at 602; Griffin, 330 F.3d at 737.

When this presumption applies, the defendant is not required to submit additional

objective evidence to "support his own assertion that he would have accepted the

offer" if provided with the benefit of effective assistance. Griffin, 330 F .3 d at 73 7.

      B.     Sentencing Counsel's Failure To: (1) Properly Argue
             Objections to the PSR; and (2) Argue for Mitigation of
             Punishment and Object to Kirton's Sentence Being
             Substantively Unreasonable Deprived Him of Effective
             Assistance of Sentencing Counsel Under the Sixth
             Amendment, A Fair and Just Sentence, a11d A Fair and
             Meaningful Appellate Review.

              1-2. Failure Properly Argue Objections to the PSR and
                   Argue for Mitigation of Punishment and Object to
                   Kirton's Sentence Being Substantively
                   Unreasonable.

       After Kirton pled guilty and the PSR was released, Kirton sought to object to

the PSR's drug weight calculation, 2-level gun enhancement, and inaccurate

testimonies of co-defendant Harris. At sentencing, Donahue failed to properly argue

the said objections, as follows:



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      1.    Drug Weight Calculation. Kirton entered a guilty plea on Count ·8 ofthe
            Indictment - Distribution and Possession with Intent to Distribute
            Heroin, in violation of21 U.S.C. § 841(a)(l).

      The drug weight is an element of the offense and that any fact that increases a

mandatory minimum penalty is an element that must be charged in an indictment and

proved to a jury beyond a reasonable doubt. Apprendi v. New Jersey, 530 U.S. 466,

120 S.Ct. 2348, 147 L.Ed.2d 435 (2000) and Alleyne v. United States, 570 U.S. 99,

133 S.Ct. 2151, 186 L.Ed.2d 314 (2013).

      In Apprendi, the Supreme Court held that the Sixth Amendment to the

Constitution requires that any fact that increases the penalty for a crime beyond the

prescribed statutory maximum, other than the fact of a prior conviction, must be

submitted to· a jury and proved beyond a reasonable doubt. In Alleyne, the Court

applied Apprendi to the federal mandatory minimum and maximum sentencing

scheme and held that because mandatory minimum sentences increase the penalty for

a crime, any fact that increases the mandatory minimum is an element of the crime

that must be submitted to the jury. Id. at 116, 133 S.Ct. 2151 (overruling Harris v.

United States, 536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002) ).

      Neither Apprendi nor Alleyne are retroactively applicable on collateral review.

See United States v. Sanders, 247F.3d139, 146 (4th Cir. 2001) Goining other circuits

in finding that Apprendi does not apply retroactively to cases on collateral review);

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and United States v. Stewart, 540 Fed.Appx. 171 (4th Cir. 2013) (per curiam) (noting

that Alleyne has not been made retroactively applicable to cases on collateral review).

However, for a period of time after Apprendi was decided, including before passage

of the Fair Sentencing Act in 2010, the jury ordinarily made a finding regarding the

threshold penalty, but the court could and did impose statutory-minimum penalties

regardless of any jury finding. That practice was authorized by Harris, and Alleyne

did not overrule Harris until three years later, and three years after the Fair

Sentencing Act was enacted. Nonetheless, Congress, when drafting the First Step Act

in 2018, surely did not intend for courts to disregard the last six years of Supreme

Court federal sentencing jurisprudence and this court declines to do so.

      Alleyne made clear that in order to preserve a defendant's Sixth Amendment

right to a jury trial, any fact that increases the statutory mandatory minimum sentence

is an element of the crime which must be submitted to the jury. Alleyne, 570 U.S. at

116, 133 S.Ct. 2151. In this case, Kirton pled guilty to Distribution and Possession

with Intent to Distribute Heroin. Under Alleyne, this court is not free to ignore that

finding and impose a penalty based on the 2,810 grams (to 500 grams) of heroin

referenced in the PSR. Thus, although Apprendi and Alleyne are not retroactively

applicable on collateral review, this court joins other courts in finding that their

holdings are applicable in the context of the First Step Act. See United States v.

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Simons, No. 07-CR-00874, 375 F.Supp.3d 379, 487, 2019 WL 1760840 at *6

(E.D.N.Y. Apr. 22, 2019) (citing Alleyne and finding that statutory penalties are

determined by facts submitted to a grand jury, trial jury, or established by a guilty

plea while findings by a judge may be used to determine a sentence within the

statutory penalties and cannot change "the mandatory minimum sentence now

applicable"); UnitedStatesv. Dodd, No. 3:03-CR-18-3, 372F.Supp.3d 795, 2019WL

1529516 (S.D. Iowa, Apr. 9, 2019) (finding in a First Step Act case that "[b]oth

Apprendi and Alleyne are binding on this Court for sentencings held today."); United

States v. Davis, No. 07-CR-245(S)(l), 2019 WL 1054554 (W.D.N.Y. Mar. 6, 2019),

appeal docketed, No. 19-874 (2nd Cir. Apr. 5, 2019) ("[I]t is the statute of conviction,

not actual conduct, that controls eligibility under the First Step Act."); see also United

States v. Laguerre, No. 5:02-CR-30098-3, 2019 WL 861417 (W.D. Va. Feb. 22,

2019) (relying without discussion on charged drug weight rather than PSR weight to

find defendant eligible for relief).

       See Jackson v. United States,_ U.S._, 121 S.Ct. 621, 148 L.Ed.2d 531

(2000). In Jackson, Jackson was charged by a multi-count indictment with, inter alia,

distribution of cocaine base and possession with intent to distribute cocaine base, all

pursuant to 21 U.S.C. § 841(a)(l). The indictment clearly identified the controlled

substance at issue as "cocaine base (crack)," but did not specify the amount of

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cocaine base involved in any count. The jury found Jackson guilty on all counts of

distribution of cocaine base and possession with intent to distribute cocaine base. The

di~trict   court sentenced Jackson to 360 months imprisonment on those counts,

pursuant to 21 U.S.C. § 841(b)(l)(A).

       The Tenth Circuit note Jackson's trial and the disposition of her direct appeal

preceded the United States Supreme Court's Apprendi decision. Not surprisingly,

then, Jackson did not raise a specific Apprendi objection to the indictment at trial or

during sentencing. She did, however, move the trial court for a special verdict form

seeking jury findings as to drug type and quantity. Jackson also objected to the

pre-sentence report with regard to drug amounts and her alleged leadership role. On

appeal, Jackson asserted the trial court erred by rejecting her proposed jury

instructions and special verdict form requiring the jury to determine the type and

quantity of controlled substance attributable to her, and by overruling her objections

to the pre-sentence report. After we rejected those arguments, Ms. Jackson filed a

petition for certiorari to the United States Supreme Court, citing Apprendi for the

proposition this court erred in declining to require a jury finding on the quantity of

crack cocaine that Ms. Jackson distributed and possessed with intent to distribute. In

her supplemental brief to this court on remand, Jackson further complains "in all the

counts listed in the indictment ... there are no drug amounts alleged, thereby making

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the defense of the indictment the same as trying to defend a moving target."

      Sufficiency of the Indictment Post-Apprendi Apprendi enunciated the
                                                     \
following rule of constitutional law: "Other than the fact of a prior conviction, any

fact that increases the penalty for a crime beyond the prescribed statutory maximum

must be submitted to a jury, and proved beyond a reasonable doubt." 120 S.Ct. at

23 62-63. Applying that rule in Jones, we unequivocally held:

       In Jones, we held Apprendi, which involved the constitutionality of a
       state statute under the Fourteenth Amendment's Due Process Clause,
      ·applies equally to criminal proceedings in federal court. See Jones, 23 5
       F.3d at 1235 (citing United States v. Gaudin, 515 U.S. 506, 510, 115
       S.Ct. 2310, 132 L.Ed.2d 444 (1995)). Moreover, as '"a new rule for the
       conduct of criminal prosecutions,"' Apprendi : "'is to be applied
       retroactively to all cases, state or federal, pending on direct review or
       not yet final."' Id. (quoting Griffith v. Kentucky, 479 U.S. 314, 328, 107
       S.Ct. 708, 93 L.Ed.2d 649 (1987)). The applicability of Apprendi to
       Jackson's case therefore is not in dispute.

      the quantity of drugs involved in a violation of § 841 is an essential
      element of the offense if that fact exposes the defendant to a heightened
      maximum sentence under§ 84 l(b)(1 )(A) or (B). A district court may not
      impose a sentence in excess of the maximum set forth in 21 U.S.C. §
      841(b)(l)(C) unless the benchmark quantity of cocaine base for an
      enhanced penalty is alleged in the indictment in addition to being
      submitted to the jury and proven beyond a reasonable doubt.

235 F.3d at 1236. In other words, after Apprendi, a trial court may not utilize §§

84l(b)(l)(A) and 841(b)(l)(B) for sentencing without the drug quantity being

charged in the indictment. Instead, the defendant may be sentenced only under §



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841(b)(l)(C), which defines penalties for offenses involving cocaine base without

reference to drug quantity, and limits the sentence to not more than twenty years for

defendants who have not previously been convicted of a felony drug offense, and

thirty years if the defendant has a prior felony drug conviction.

         The government concedes Jackson's indictment failed to allege the quantity of

cocaine base supporting any of the § 841 (a) distribution/possession counts, and

therefore her sentence pursuant to 21 U.S.C. § 841(b)(l)(A) is in error. Because

Jackson had no prior felony drug conviction, the maximum sentence she could

receive under § 841 (b )( 1)(C) for distribution and possession with intent to distribute

an unspecified quantity of crack cocaine is twenty years. She was sentenced to thi,rty

years.

         Same rule should apply to Kirton and his case should be vacated for

resentencing to within the statutory range for the offenses of which Kirton was

convicted (no more than 20 years pursuant Section 841(b)(l)(C)).

         2.    2-Level Gun Enhancement.

         Kirton objected to the gun enhancement, an enhancement reliant entirely upon

Harris' statements. The governmert provided no evidence in support of the

enhancement at sentencing, but in fact responded to the Court that Harris was not

truthful about the gun.

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      Mr. Severo: "[W]e concede that they were both given polygraphs and that the

second person [Harris] was untruthful about information about who his source was

and the firearm." Therefore, when asked about the polygraph of Harris by the trial

court, the government responded that Harris was "untruthful" about ... the gun and

the source. At sentencing, the defense requested the Court remove the two points.

Thereafter, no statement of the Court specifically ruled on the 2-point enhancement

for the gun despite the objection. See Doc. 102. The Court merely announced, "I think

that's a fair sentence" and imposed 124 months as requested by the government, by

taking into account the "5Kl.1, 3553(a) and all the factors and his history" and the

probation revocation. Nevertheless, the trial court in recalculating the drug weight

upon the presentations at the sentencing proceeding failed to rule on the gun

enhancement objections, and the recalculations included the enhancement, despite the

fact that the probation officer pointed out to the Court that the enhancements were

included (advising on a 500 gram drug weight recalculation). Id. Probation: "Just

changing that guideline alone .. .instead of a 32, you would have a base offense level

of 26. And then he also has an objection to the firearm enhancement. So that one we

haven't gotten to yet, but including it, it would be a 30 minus three, so looks like a

total offense level 27 [including 2 for leadership] resulting in a sentence of 100-125

months". Id.


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      At sentencing, Donahue failed to remind the Court that the 2-level

enhancement for the gun was not ruled on yet. Further, the said enhancement should

not apply as Harris' statements were untruthful- as the government conceded.

      Because the trial judge failed to articulate with specificity how he arrived at the

sentence, speculation is required to argue in absence of a ruling on the objection.

      3.     Impeach Witness.

      In this case, Donahue failed to discredit Harris as witness through impeachment

by cross-examining the witness about facts that reflect poorly on the witness'

credibility or, in this case, the government conceded on the witness' truthfulness or

knowledge.

      At sentencing, Donahue failed to properly argue the aforementioned issues.

Kirton was confused by the way the Guidelines worked in his case. Because Kirton

was unfamiliar with the federal judicial system and unschooled in federal law, he was

forced to wholly rely on his attorney's advice.

      Donahue failed to present any evidence for mitigation ofKirtnn' s sentence. As

such, Kirton received a sentence of 100 months' imprisonment. Donahue also failed

to object to Kirton's sentence being substantively unreasonable. Donahue's failure

to properly argue PSR objections and failure to object to his sentence being

substantively unreasonable, he failed to preserve any issues for appellate review.

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                                VI. CONCLUSION

      For the above and foregoing reasons, Kirton's sentence mu~t be vacated for

resentencing. In the alternative, an evidentiary hearing should be held so that Kirton

may further prove his meritorious ground for relief, resolve any disputed facts, and

expand an incomplete record.



                                              Respectfully submitted,




Dated: January _I, 2020.
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